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     1
                              UNITED STATES DISTRICT COURT
     2                        SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
     3                         CASE NO. 0:23-cv-60345-RAR

     4
         HEAD KANDY LLC,                              Fort Lauderdale, Florida
     5
                           Plaintiff,                 August 1, 2023
     6
                     vs.                              8:53 AM - 4:49 M
     7
         KAYLA MARIE MCNEILL,
     8
                        Defendant.             Pages 1 to 299
     9   ______________________________________________________________

   10               HEARING BEFORE THE HONORABLE JARED M. STRAUSS
                           UNITED STATES MAGISTRATE JUDGE
   11
         APPEARANCES:
   12
         FOR THE PLAINTIFF:                   ETHAN LOEB, ESQ.
   13                                         EDWARD COLIN THOMPSON, ESQ.
                                              ELLIOT HANEY, ESQ.
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   23    STENOGRAPHICALLY REPORTED BY:

   24                            PATRICIA BAILEY-ENTIN, RPR, FPR
                                 Official Court Reporter
   25                            United States District Court




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     1   A.    I bought things like -- I'm sorry.

     2   Q.    Can I please finish?     Using those points for business

     3   charges and then you were putting those to pay for your

     4   personal expenses that were contained on the Amex card; isn't

     5   that right?

     6   A.    I used personal charges on the credit card as well to

     7   accumulate the points.      So it was not a specific business card.

     8   So if I made a purchase for something larger, I would get more

     9   points so I would use my points to pay for things for me,

   10    correct.

   11    Q.    Now, during the fall of 2023 you were working with

   12    Mr. Thompson to set up White Pineapple; correct?

   13    A.    Yes.

   14    Q.    And --

   15    A.    But because I was told that they were liquidating the

   16    company of Head Kandy and they were going to close the

   17    business.

   18    Q.    But whatever it is you contend was said, you were utilizing

   19    Mr. Thompson to help set that company up; correct?

   20    A.    Ryan -- Ryan informed me that he couldn't afford his rent

   21    and he was scared that if they liquidated the company he would

   22    not have a job.

   23    Q.    And you were aware of the obligations and restrictions

   24    contained in your agreement with regard to solicitation of

   25    employees?
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     1   A.    I was under the impression that they were liquidating Head

     2   Kandy and that he was not going to have a job.

     3   Q.    Ma'am, my question was:      You were aware of restrictions

     4   regarding soliciting or utilizing Head Kandy employees for your

     5   personal or other business purposes; is that right, ma'am?

     6   A.    Ryan was not my employee at White Pineapple.

     7   Q.    Did you utilize him to help you while he was employed at

     8   Head Kandy to do work such as ordering leggings and other

     9   materials for the White Pineapple business; yes or no?

   10    A.    Our communications were always after 5:00 o'clock p.m., and

   11    he was going to be my business partner; so I didn't look at it

   12    as a breach of a contract because he was going to be a partner

   13    in something, not an employee.

   14    Q.    Didn't you tell Mr. Thompson in a text message in

   15    December 13th of 2022 that if Head Kandy found out what you

   16    were doing with him that they were going to sue you?

   17    A.    Yeah, because they -- here we are.

   18    Q.    Right.   But I thought you said that you felt it was okay

   19    because they were going to liquidate.

   20    A.    I did.   That's why I didn't sell anything until after I was

   21    released from the company.       I had no plan.     It was just kind of

   22    to have in place as I was told they were liquidating the

   23    company and that they were going to close Head Kandy.

   24    Q.    And even though that's what you contend to have said, did

   25    you ever seek permission from anybody at Head Kandy to ask if
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     1   you could utilize Mr. Thompson for his services in helping you

     2   set up White Pineapple?

     3   A.    He didn't help me set up White Pineapple, to be clear.           I

     4   set that up by myself, and then Ryan informed me that he was

     5   scared he was going to lose his job because we were told that

     6   they were liquidating the company.        So I was trying to make

     7   sure that the people who I had employed for years were able to

     8   pay their bills.

     9         So I didn't ask for permission because it was just to have

   10    in case they really did close the company.          Because he deserves

   11    to live.    He deserves to pay his bills.       I deserve to feed my

   12    children.    We had to have some kind of plan.

   13    Q.    So the answer is, putting aside that narrative, is that you

   14    never sought permission from Head Kandy?

   15    A.    I thought that he wasn't going to be employed by me.          So I

   16    didn't -- the contract states you can't employ anyone; so I

   17    didn't understand it as that.

   18    Q.    Now, Mr. Thompson -- do you recall him asking you from time

   19    to time about how to categorize certain company expenses for

   20    reimbursement?

   21    A.    Ryan didn't do the expense reports after he returned back

   22    from working.     He quit in March of 2020.      And then when he

   23    returned, he was not doing expense reports.

   24    Q.    Do you recall in May of 2022, before Mr. Rosenbaum shows on

   25    the scene -- I think we established that's in July of 2022,
